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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

   CommScope, Inc., CommScope Inc. of ) Civil Action No. 19-cv-15962-JXN-
   North Carolina, and CommScope      ) LDW
   Technologies, LLC,                 )
                                      )
               Plaintiffs,            )
                                      ) NOTICE OF JOINT MOTION
   v.                                 )      OF ALL PARTIES FOR
                                      ) RECONSIDERATION OF THE
   Rosenberger Technology (Kunshan)   ) DENIAL OF THE REQUESTED
   Co. Ltd., Rosenberger Asia Pacific ) EXTENSION BASED ON NEW
   Electronic Co., Ltd., Rosenberger  ) INFORMATION, OR, IN THE
   Technology LLC, Rosenberger USA    ) ALTERNATIVE, TO STAY THE
   Corp., Rosenberger North America   )           LITIGATION
   Pennsauken, Inc., Rosenberger Site )
   Solutions, LLC, Rosenberger        )
   Hochfrequenztechnik GmbH & Co.     )
   KG, Northwest Instrument, Inc.,    )
   CellMax Technologies AB,           )
                                      )
               Defendants.            )
                                      )
  TO: ALL COUNSEL OF RECORD

        PLEASE TAKE NOTICE that, on May 16, 2022, or as soon thereafter as the

  parties may be heard, Faegre Drinker Biddle & Reath LLP and Norris McLaughlin,

  P.A., attorneys for Plaintiffs CommScope, Inc., CommScope Inc. of North Carolina,

  and CommScope Technologies, LLC (together, CommScope); Cullen and Dykman

  LLP and King & Wood Mallesons, attorneys for Defendants Rosenberger

  Technology (Kunshan) Co. Ltd., Rosenberger Asia Pacific Electronic Co., Ltd.,

  Rosenberger Technology LLC, Rosenberger USA Corp., Rosenberger North
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  America Pennsauken, Inc., Rosenberger Site Solutions, LLC, Rosenberger

  Hochfrequenztechnik GmbH & Co. KG, Northwest Instrument, Inc., and CellMax

  Technologies AB (together, “Rosenberger,” and with CommScope, “Movants”),

  shall jointly move the Court pursuant to Local Civil Rule 7.1(i) to reconsider the

  prior order denying the parties’ requested extension (Dkt. 525) or, in the alternative,

  to stay the litigation.

         In support of this motion, Movants will rely upon the accompanying

  Memorandum of Law in Support of the Motion; the accompanying Declaration of

  Randall E. Kahnke, including all the attached exhibits; the accompany Declaration

  of Jim Miao, including all the attached exhibits; the accompanying Declaration of

  Sammit Patel; the accompany Declaration of Michael S. DeVincenzo, including all

  the attached exhibits; and all other pleadings and memoranda on file in this matter.

         A proposed order is enclosed.




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   Dated: April 14, 2022             /s/ Edward G. Sponzilli
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                                     Solutions, LLC, Rosenberger
                                     Hochfrequenztechnik GmbH & Co. KG,
                                     Northwest Instrument, Inc., and CellMax
                                     Technologies AB




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